     9:21-cv-00158-MBS         Date Filed 05/05/21      Entry Number 12        Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                BEAUFORT DIVISION

Roberto Colon Santiago,             )                Civil Action No.: 9:21-cv-158-MBS
                                    )
       Plaintiff,                   )
                                    )
v.                                  )                       OPINION and ORDER
                                    )
Andrea Venezio and Sapphire Health, )
Group, LLC,                         )
                                    )
       Defendants.                  )
____________________________________)

       This matter is before the court on Defendants Andrea Venezio and Sapphire Health Group,

                                                  sdiction. ECF No. 7. Plaintiff Roberto Colon

Santiago filed a response on February 19, 2021, ECF No. 10, and Defendants filed a reply on

February 26, 2021, ECF No. 11. The court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332. For the reasons explained below, the Motion is granted and the complaint is dismissed

without prejudice.

                                       BACKGROUND

       Plaintiff is a former resident of South Carolina and a current resident of California. He is

professionally trained as an executive in the health care services industry. From May 2019 through

August of that year he held an executive position with Surgical Care Af

Head, South Carolina. When his employment with SCA ended, he contacted Defendant Sapphire

Health Group, LLC, an executive search firm, to assist him in his job search. Defendant Andrea

Venezio is the chief executive officer, principal owner, and managing director for Defendant
     9:21-cv-00158-MBS          Date Filed 05/05/21       Entry Number 12         Page 2 of 14




                                                                           are citizens of Texas.1 At

the same time as he enlisted Defendants to help                            her prospective employers

                                    F No. 1-1 at ¶ 13, he retained the services of Adam Nedergaard,

another recruiting professional. Mr. Nedergaard subsequently presented Plaintiff for the position

of Director of Operations at the Springfield Clinic in Springfield, Illinois. Plaintiff alleges that he

completed several favorable interviews with the Springfield Clinic and that its Director of Human

Resources referred to him as an excellent candidate. Id. at ¶ 16. Ultimately, the Springfield Clinic

offered the position to someone else. Plaintiff alleges that the decision to hire another candidate

                                    and defamatory statements about

only worked for his most recent employer for a period of two weeks, that he did not have requisite

experience, and that his educational degrees and ot

Id. at ¶ 20. Plaintiff further alleges that Defendants acted to prevent him from finding employment

in the health care industry. On the basis of these allegations, Plaintiff asserts claims for civil

conspiracy, defamation, tortious interference with prospective business relationship, breach of

fiduciary duty, negligence, and negligent misrepresentation.

       Plaintiff filed the complaint in state court on November 10, 2020 and effected service on

Defendants on December 17, 2020. Defendants removed the action to this court on January 15,

2021 and filed the Motion to Dismiss on January 22, 2021. Defendants argue the court lacks

personal jurisdiction over them and asks in the alternative, should the court find jurisdiction, that

the court transfer the lawsuit to the Eastern District of Texas. The court is sufficiently apprised of

the issues and finds that a hearing would not materially aid in its adjudication of the Motion.




1
 Defendant Venezio is the sole owner and member of Defendant Sapphire Health Group, LLC.
ECF No. 7-1 at 19, ¶¶ 2, 3.
                                                  2
     9:21-cv-00158-MBS         Date Filed 05/05/21          Entry Number 12      Page 3 of 14




                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(2), the court may dismiss a case for lack of

                                     must affirmatively raise a personal jurisdiction challenge, but

the plaintiff bears the burden of demonstrating personal jurisdiction at every stage following such

              Grayson v. Anderson, 816 F.3d 262, 267 (4th Cir. 2016).

establishing jurisdiction varies according to the posture of a case and the evidence that has been

                         Id. at 268. Here, where the court addresses the personal jurisdiction

                                      tions and briefs and the allegations in the complaint, Plaintiff

                     prima facie showing of personal jurisdiction to survive the jurisdictional

            Id. (citing Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989)). While the court must

construe all factual allegations in the light most favorable to the nonmoving party, the showing of

                                                        set forth in the record in order to defeat [a]

                     Magic Toyota, Inc. v. Southeast Toyota Distributors, Inc., 784 F. Supp. 306,

310 (D.S.C. 1992). The court may consider evidence outside of the pleadings, such as affidavits

and other evidentiary materials,                                      to dismiss into a motion for

                      Id. See Grayson, 816 F.3d at 268 (citing Mylan Labs., Inc. v. Akzo, N.V., 2

F.3d 56, 62 (4th Cir. 1993) (explaining that courts may consider affidavits from any party when

applying the prima facie standa                                       st establish facts supporting

jurisdiction over the defendant by                                           Grayson, 816 F.3d at

268 (citing Combs,                                              n [is] on the plaintiff ultimately to

prove the existence of a ground for jurisdiction by a pre




                                                 3
     9:21-cv-00158-MBS          Date Filed 05/05/21       Entry Number 12       Page 4 of 14




                                      DISCUSSION

I.     Arguments and Legal Authority

       Defendants are citizens of Texas and they argue that the court lacks personal jurisdiction

over them. ECF No. 1-1 at ¶ 3; ECF No. 7-1 at ¶¶ 2-3. A federal district court sitting in diversity

can exercise personal jurisdiction over a nonresident defendant if

authorized by the long-arm statute of the state in which the district court sits; and (2) application

of the relevant long-arm statute is consistent with the Due Process Clause of the Fourteenth

               Universal Leather, LLC v. Koro AR, S.A., 773 F.3d 553, 558 (4th Cir. 2014). The

South Carolina long-arm statute is coextensive with the due process clause, which reduces the

question to whether the exercise of personal jurisdiction would violate due process. Moosally v.

W.W. Norton & Co., 594 S.E.2d 878, 883 (S.C. App. 2004). Due process requires that a defendant

                                                   m] such that the maintenance of the suit does not

                                                                                               , 326

U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)).

       Personal jurisdiction may be exercised generally or specifically. General jurisdiction is

established where the defendant                         e forum state have

             Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984), and

                               as to render it essentially at                           Daimler AG

v. Bauman, 571 U.S. 117, 122 (2014).2                                   the court to hear any and all

claims against the defendant, regardless of where the claims arose or the pl




2
                                             the exercise of general jurisdiction is the
                                ation, it is an equivalent place, one in which the corporation is
                                             is incorporated and where it has its principal place
of business. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011).
                                                  4
     9:21-cv-00158-MBS          Date Filed 05/05/21       Entry Number 12         Page 5 of 14




Fidrych v. Marriott International, Inc., 952 F.3d 124, 131-32 (4th Cir. 2020). By contrast, specific

                                                in the state connected to the lawsuit. ALS Scan, Inc.

v. Digital Serv. Consultants, Inc., 293 F.3d 707, 711-12 (4th Cir. 2002) (citing Helicopteros

Nacionales, 466 U.S. at 414. Where the defendant lacks the contacts to be considered essentially

                                                      cise specific jurisdiction if the defendant has

continuous and systematic contacts with the forum state and the claims at issue arise from those

                                  Fidrych, 952 F.3d at 132 (citing Daimler, 571 U.S. at 126-27).

                                                       to which the defendant purposefully availed

itself of the privilege of conducting activities in the state; (2) whether the plai

out of those activities directed at the State; and (3) whether the exercise of personal jurisdiction

                                            Perdue Foods LLC v. BRF S.A., 814 F.3d 185, 189 (4th

Cir. 2016).

       Plaintiff concedes he has not made a prime facie case for the exercise of general jurisdiction

over Defendants. ECF No. 10 at 7. He argues howe                               a prima facie showing

that Defendants have availed themselves to the jurisdiction of courts in South Carolina by way of

their sufficient minimum contacts with the State of South Carolina, and also by aiming their

tortious conduct, and the resulting harms of said

8. Should the court disagree, he asks in the alternative for an opportunity

see if additional facts may be learned that would make the proper exercise of jurisdiction over

                                   Id. at 10.

                                          the sole question before the court is whether it has specific

jurisdiction over Defendants. As to the first prong of the test referenced above, the Fourth Circuit




                                                  5
      9:21-cv-00158-MBS         Date Filed 05/05/21      Entry Number 12          Page 6 of 14




has identified the following factors the court may consider in assessing whether a business has

purposefully availed itself of a forum:

        Whether the defendant maintains offices or agents in the forum state; whether the
        defendant owns property in the forum state; whether the defendant reached into the
        forum state to solicit or initiate business; whether the defendant deliberately
        engaged in significant or long-term business activities in the forum state; whether
        the parties contractually agreed that the law of the forum state would govern
        disputes; whether the defendant made in-person contact with the resident of the
        forum in the forum state regarding the business relationship; the nature, quality,
                                                  about the business being transacted; and
        whether the performance of contractual duties was to occur within the forum.

Consulting Engineers Corp. v. Geometric Ltd., 561 F.3d 273, 278 (4th Cir. 2009) (internal citations

omitted). The second prong of th                                                 with the forum state

                            Id. at 278-79 (citations omitted). A

to consider additional factors to ensure the appropriateness of the forum once it has determined

that a defendant has purposefully availed itself of the priv

        (1) the burden on the defendant of litigating in the forum; (2) the interest of the
        forum state in adjudicating the dispute;
        convenient and effective relief; (4) the shared interest of the states in obtaining
        efficient resolution of disputes; and (5) the interests of the states in furthering
        substantive social policies.

Id. at 279.

II.     Application and Findings

        In support of their Motion to Dismiss, Defendants submit an affidavit in which Defendant

Venezio attests to the following.                                      a recruiting firm that assists

ambulatory surgery centers, surgical hospitals, and health systems in finding full-time executive

                                  clinical and operational leadersh

7. As part of this process, Sapphi                                    with facilities that are seeking

                                                      successfully assists the facility in hiring a new



                                                  6
     9:21-cv-00158-MBS          Date Filed 05/05/21      Entry Number 12        Page 7 of 14




executive employee, the facility pays Sapphire Health pursuant to the terms of the agreement

                                                Id.

contracts with individuals to assist them in finding employment and receives no money from

                                    Id. at ¶ 9. Defendant Sapphire Health has never kept a business

office in South Carolina or employed workers in South Carolina. Id. at ¶¶ 5-6.

       Defendant Venezio attests that Plaintiff contacted her in September 2019 via the online

service Linkedin. ECF No. 7-1 at 20, ¶ 11. They subsequently spoke over the telephone at which

time Plaintiff told Defendant Venezio that he was unhappily employed at SCA as chief executive

officer and was looking for alternative employment. Id. at ¶ 12. Defendant Venezio attests that

during their telephone conversation, sh                               not representing any facilities



assist in placing individuals with facilities that Sapphire Health represents or with whom Sapphire

                                Id. at ¶ 13. She further explained that she could not represent him

to a facility if he had already applied directly to an open position with the facility. Id. Defendant

Venezio reviewed the positions to which Plaintiff had recently submitted applications and

                                              lmost every ambulatory surgery center management

company or health system in the United States that Sapphire Health has worked with in the past,

and thus, Sapphire Health [was] precluded from presenting Mr. Santiago to those Sapphire Health

         Id. at ¶ 14. Therefore, Defendant Venezio told Plaintiff she would not be able to assist

him. Id. at ¶ 15. Defendant Venezio attests that her communication with Plaintiff consisted of

                                     , initiated by Mr. Santiago, during a period of approximately

                                     ile she was located in Texas. Id. at ¶¶ 16, 17. She further




                                                 7
     9:21-cv-00158-MBS           Date Filed 05/05/21      Entry Number 12        Page 8 of 14




attests that Defendants did not enter into a contract or other form of agreement with Plaintiff, did

not present him to prospective employers, and did not soli                            Id. at ¶¶ 18-20.

       Plaintiff summarizes his understanding of the operative facts as follows:

       Defendants agreed to perform services originating in the State of South Carolina
       for a South Carolina resident who expressed a desire to find alternate employment
       while hopefully remaining in the State of South Carolina; Defendants never
       expressed any refusal to assist Plaintiff with his search for alternative employment
       or placement; Defendants never expressed any geographical limitations associated
       with their business activities or job search assistance; Defendants promote
       themselves as a business with presence or activities occurring worldwide and
       nationwide; Defendants engaged in intentional tortious conduct that amounted to
       civil conspiracy, defamation, and breach of fiduciary duty by making false and
       slanderous statements to a prospective employer in the State of Illinois while
       knowing that Plaintiff was a resident of South Carolina and would suffer ha[r]m or
       damages in South Carolina due to this conduct.

ECF No. 10 at 8. Plaintiff additionally disp                                 s recollection of their

communication. Plaintiff attests th                                  enezio] say that she would not

                                 a]t no time did these Defendants advise me that they could not or

would not assist me in my search for executive level employment

                                                 Andrea Venezio led me to believe that she was

willing to provide job placement assistance to me, and that she would indeed provide me with

professional services and look out for my best inte



close and ongoing relationship with the person who served as Plai

Hilton Head. Id. at ¶¶ 10, 14.

       Accepting the facts summarized by Plaintiff as true and viewing the factual disputes in his

favor, he fails to make a prima facie showing of jurisdiction. The contentions regarding the

                                                      vant to a finding of general jurisdiction, which

is not at issue here. Indeed, the Supreme Court explained in Goodyear and Daimler

                                                 8
     9:21-cv-00158-MBS          Date Filed 05/05/21       Entry Number 12       Page 9 of 14




limited set of affiliations with a forum will render a defendant amenable to all-purpose jurisdiction



corporation, that forum is the place of incorporation or principal place of business. Daimler, 571

U.S. at 137 (quoting Goodyear, 564 U.S. at 924). The Daimler court further explained such




forum in which a corporate defendant ma                                            Id. Only in the



of such a nature as to render the co                                    Id. at 138, 139 (rejecting as



in which a corporation engages in a substantial, continuous, and syst

There simply is no factual support in the record for finding general jurisdiction over either

Defendant.

                                                     onsummation of a working relationship while

Plaintiff was living in S                                         tortious conduct are relevant to a

finding of specific jurisdiction, but are insufficient to show either that Defendants availed

themselves of the privilege of conducting activities in South Carolina or

arise out of activities directed at South Carolina. On consideration of the factors identified above

with respect to purposeful availment, the court notes that Defendants do not maintain offices or

agents in South Carolina and do not own property in South Carolina. To the extent the parties

entered into an agreement to work together, there is no allegation that they reduced the agreement

to writing or included a provision that South Carolina law would govern any disputes. There is

likewise no allegation that Defendant Venezio made in-person contact with Plaintiff regarding



                                                 9
    9:21-cv-00158-MBS           Date Filed 05/05/21       Entry Number 12        Page 10 of 14




their alleged business relationship while Plaintiff was in South Carolina. Additionally, while

Plaintiff attests he told Defendant Venezio of

                                      South Carolina, North Carolina, Georgia, or Florida, ECF No.

10-1 at ¶ 8, there is no allegation that the performance of their alleged agreement was to occur

within South Carolina.      The court addresses the remaining

solicitation and/or initiation of business and presence of significant or long-term business activities

in South Carolina and the nature, qu                                   communications as follows.

       The contacts necessary for a finding of specifi

                                                         Ford Motor Company v. Montana Eighth

Judicial District Court, --- U.S. ----, 141 S. Ct. 1017, 1025 (2021) (quoting Keeton v. Hustler

Magazine, Inc., 465 U.S. 770, 774 (1984)). The contacts must show that the defendant deliberately



                                                       then, the forum State may exercise jurisdiction

                                                                                                    Id.

(quotations and citations omitted).

       Plaintiff learned of Defendants during an online search that he initiated. Plaintiff attests

                                  ment in 2019 on the website Indeed.com, [he] noticed a position

where Sapphire was the contact

                                                       acted Andrea Venezio about [his] employment

                                       Id.

targets South Carolina residents for commercial transactions any more than it targets any other

state, nor does he assert that the website is interactive to such a degree as to constitute a method

                                         e for jurisdictional purposes. Fidrych, 952 F.3d at 141-43



                                                  10
    9:21-cv-00158-MBS          Date Filed 05/05/21         Entry Number 12        Page 11 of 14




                                                   jurisdictionally relevant f

                                               purposefully directed its activities at residents of the

                                                        tive website that is not used to target South

Carolina residents in particular                                     l connection to South Carolina

necessary to support the exercise                                  and citations omitted) (citing ALS

Scan                                                      ailment as the touchstone of the minimum-

                                                   ted contact with Defendant Venezio and that their

correspondence lasted no more than a couple of weeks.3 Furthermore, it is unclear from the

complaint where Plaintiff lived when he interviewed for the Springfield Clinic position, when

Defendants engaged in the alleged tortious activity, and when he suffered the damages he claims.

Plaintiff alleges merely that he was living in South Carolina when he contacted Defendants and

that he wished to remain in South Carolina. An inference can be made that Plaintiff was living in

South Carolina at the time Defendants engaged in the allegedly tortious activity, see ECF No. 10-

1 at ¶¶ 20-21; however, the Supreme Court has specified that while the

residence and injury may be relevant in assessi

                                      create                                               Ford Motor

Company, 141 S. Ct. at 1031-32 (citing Walden v. Fiore, 571 U.S. 277, 290 (2014)). See Hawkins

v. i-TV Digitalis Tavkozlesi zrt., 935 F.3d 211, 230 (4th Cir. 2019) (explaining that wh

effects of out-of-forum conduct can constitute minimum contacts with the forum sufficient to

                                                                                    forum, not just to

parties who happen to live



3
  Plaintiff does not dispute or c                               station that Plaintiff initiated
the telephone and email communication with her and that their correspondence lasted no longer
than approximately one week. ECF No. 7-1 at 21, ¶ 16.
                                                   11
     9:21-cv-00158-MBS           Date Filed 05/05/21       Entry Number 12        Page 12 of 14




                                    cannot be haled into the forum simply because he knew that his

conduct would have incidental

                                                         online presence and the handful of telephone

calls and emails between Plaintiff and Defendant Venezio taken together qualify as purposeful

availment. However, even if such activity does so qualify, the alleged tortious conduct does not

                                    cation and alleged contractual agreement but out of the alleged

statements Defendants made to the Springfield Clinic.4 As a whole, the jurisdictional allegations

are insufficient to show an affiliation between South Carolina and the underlying controversy. See

Goodyear Dunlop Tires Operations, 564 U.S. at 919. See also Bristol-Myers Squibb Co. v.

Superior Court of California, --- U.S. ----, 137 S. Ct. 1773, 1780 (2017)

to exercise specific jurisdiction, the suit

the forum                         tions omitted).

        Plaintiff nonetheless asserts he believes jurisdiction over Defendants is

upon their ongoing business relationship with [his] former employer in South Carolina, and based

upon their agreement to provide assistance to [him] while knowing [he] was a South Carolina

resident, and based upon their deliberate tortious conduct toward [him] that was certain to cause

[him] to suffer harm in South

                                                SCA in Hilton Head, accordingly those contacts are

irrelevant to this analysis. See Fidrych                                    lification to do business in

South Carolina and its involvement in ninety hotels in the state have nothing to do with the claims



4
  Nor does the alleged tortious conduct relate to                           ns and agreement such
that the exercise of specific jurisdiction is appropriate. See Ford Motor Company, 141 S. Ct. at


limits, as it must to adequately protec
                                                    12
     9:21-cv-00158-MBS         Date Filed 05/05/21       Entry Number 12        Page 13 of 14




asserted in this case and thus ar                                  And as described above, Plaintiff

cannot rely on his residence in the forum state and injury suffered in the forum state to create

                                                   , the separate contacts he has described, i.e.,

abbreviated communication spanning a two-week period and a tentative agreement to work

together, are insufficient to satisfy the minimum-contacts requirement of the personal jurisdiction

inquiry. See Walden                                            cise jurisdiction consistent with due

                                    ted conduct must create a substantial connection with the forum

                        to satisfactorily allege that Defendants purposefully availed themselves of

the privilege of conducting activities in South Caro                          ims do not arise out of

                                      could be considered as directed at this state. Accordingly, the

exercise of personal jurisdiction over Defendants would not be constitutionally reasonable.

        As a final matter, Plaintiff asks permission to conduct jurisdictional discovery so as to

                                                         ities within the forum state in an effort to

learn if general jurisdic                                        o. 10 at 7. As discussed above, the

present state of personal jurisdiction jurisprudence leaves little doubt that establishing general

jurisdiction over a corporation in a forum other than where that defendant is incorporated or has

its principal place of business is difficult and uncommon. Plaintiff has offered no factual

allegations to suggest that discovery may yield information to support the exercise of general

jurisdiction over Defendants. See Carefirst of Maryland, Inc. v. Carefirst Pregnancy Centers, Inc.,

334 F.3d 390, 402-03 (4th Cir. 2003) (noting that a court acts within its discretion in denying

jurisdictional discovery where a pl                        eculation or conclusory assertions about

                                Additionally, to the extent Plaintiff intended to seek discovery to

develop a basis for specific jurisdiction, there is no dispute that the claims Plaintiff asserts arise



                                                  13
    9:21-cv-00158-MBS           Date Filed 05/05/21       Entry Number 12        Page 14 of 14




out of activity directed at Illinois. For these reasons, the court denies the request of jurisdictional

discovery.

       The Motion to Dismiss, ECF No. 7, is granted and the complaint is dismissed without

prejudice.

       IT IS SO ORDERED.

                                                               /s/Margaret B. Seymour
                                                               Margaret B. Seymour
                                                               Senior United States District Judge

May 5, 2021
Charleston, South Carolina




                                                  14
